         Case 1:10-cv-00778-FMA Document 89 Filed 10/25/13 Page 1 of 1




      In The United States Court of Federal Claims
                                          No. 10-778C

                                     (Filed: October 25, 2013)
                                            __________

 RICHARD COLLINS, individually and on
 behalf of a class of all those similarly
 situated,

                       Plaintiffs,

        v.

 THE UNITED STATES,

                       Defendant.
                                           __________

                                            ORDER
                                           __________

        The telephonic status conference that was originally scheduled for October 25, 2013, has
been rescheduled for Wednesday, October 30, 2013 at 10:00 a.m. (EDT). Chambers will contact
the parties shortly before the scheduled conference time.

       IT IS SO ORDERED.




                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
